Case 19-22142 Doc1 Filed 09/11/19 Pagd 1 of63— QQ Wa

Fill in this information to identify your case:

United States Bankruptcy Court for the:
DISTRICT OF MARYLAND

 

SHG CFO 1) OM be. th
Case number (if known): Chapter you are filing under: dio SEP PioG Mh ie: i b

TARARUP
PET GF om
AP te

Chapter 7

(1 Chapter 11
(J Chapter 12
(1 Chapter 13

   

 
     
 

amended filing

= QW
&

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy 17

      

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying

correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Identify Yourself

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name that is on your

government-issued picture CHRISTIAN ROXANA

. es irst Name First Name

identification (for example,

your driver's license or MARCIANO MARITZA

passport). Middle Name Middle Name

FLORES SOTOMAYOR

Bring your picture Last Name Last Name

identification to your meeting

with the trustee. Suffix (Sr. Jr., I, I) Suffix (Sr., Jr Il, )
2. All other names you ROXANA

have used in the last 8 First Name First Name

years MARITZA

. Middle Name Middie Name

Include your married or MARQUINA

maiden names. Last Name Last Name
3. Only the last 4 digits of

your Social Security mx n~ xe - fn _8 XXX — XX-—_ 9 2 _o _0

number or federal OR OR

Individual Taxpayer

Identification number 9xx — xx - 9xx — xx —

(ITIN)

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 

 
 

Debtor 1
Debtor 2

Case 19-22142 Doc1

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

About Debtor 1:

| have not used any business names or EINs.

Filed 09/11/19 Page 2 of 63

Case number (if known)

—

About Debtor 2 (Spouse Only in a Joint Case):

| have not used any business names or EINs.

 

Business name

Business name

 

Business name

Business name

 

Business name

18233 SWISS CIRCLE APT 1

Number Street

Business name

EN
If Debtor 2 lives at a different address:

Number Street

 

 

 

 

GERMANTOWN MD _:20874

City State ZIP Code City State ZIP Code
MONTGOMERY

County County

If your mailing address is different from
the one above, fill it in here. Note that the
court will send any notices to you at this
mailing address.

18233 SWISS CIRCLE APT 1

Number Street

GERMANTOWN, MD 2074

If Debtor 2's mailing address is different
from yours, fill it in here. Note that the court
will send any notices to you at this mailing
address.

Number Street

 

 

P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
Check one: Check one:

f¥J_ Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

eae eu the Court About Your Bankruptcy Case

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

Official Form 101

Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

(‘| have another reason. Explain.
(See 28 U.S.C. § 1408.)

Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

vi Chapter 7

(J Chapter 11
[ Chapter 12
1 Chapter 13

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

ra

 

 
Case 19-22142 Doc1 Filed 09/11/19 Page 3 of 63

Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known)
8. How you will pay the fee | will pay the entire fee when I file my petition. Please check with the clerk's office in your local

court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
behalf, your attorney may pay with a credit card or check with a pre-printed address.

[] [need to pay the fee in installments. !f you choose this option, sign and attach the Application for
Individuals to Pay The Filing Fee in Installments (Official Form 103A).

[ +! request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
than 150% of the official poverty line that applies to your family size and you are unable to pay the
fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

9. Have you filed for No
bankruptcy within the
last 8 years? 1] Yes.
District When Case number
MM /DD/YYYY
District When Case number
MM /DD/YYYY
District When Case number
MM /DD/YYYY
10. Are any bankruptcy No
cases pending or being
filed by a spouse who is [] Yes.
not filing this case with Debtor Relationship to you
you, or by a business
partner, or by an District When Case number,
affiliate? MM/DD/YYYY — if known
Debtor Relationship to you
District When Case number,

 

MM/DD/YYYY _ if known

11. Do you rent your WJ No. Go to line 12.
residence? (J Yes. Has your landlord obtained an eviction judgment against you?

C7 No. Go to line 12.

OO Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
and file it as part of this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3

 

 
Debtor 1
Debtor 2

Case 19-22142 Doc1 Filed 09/11/19 Page 4 of 63

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR Case number (if known)

 

Report About Any Businesses You Own as a Sole Proprietor

12.

13.

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code and

are you a smail business
debtor?

For a definition of small
business debtor, see
11 U.S.C. § 101(51D).

No. Go to Part 4.
| Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State ZIP Code

Check the appropriate box to describe your business:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

OoOoooo

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. |f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. 1am not filing under Chapter 11.

[J No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

(0 Yes. iam filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

FEREAE Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.

Do you own or have any
property that poses or is
alleged to pose a threat of
imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed, or
a building that needs urgent
repairs?

Official Form 101

I No

[J Yes. Whatis the hazard?

If immediate attention is needed, why is it needed?

Where is the property?
Number Street

 

 

 

City State ZIP Code

Voluntary Petition for Individuals Filing for Bankruptcy page 4

 

 
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Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES

ROXANA MARITZA SOTOMAYOR Case number (if known)

 

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court About Debtor 1:

whether you
have received a
briefing about
credit
counseling.

The law requires
that you receive a
briefing about credit
counseling before
you file for
bankruptcy. You
must truthfully
check one of the
following choices.

Hf you cannot do so,
you are not eligible
to file.

If you file anyway,
the court can
dismiss your case,
you will lose
whatever filing fee
you paid, and your
creditors can begin
collection activities
again.

Official Form 101

You must check one:

J! received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(J! received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

[JI certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you

were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

J! am not required to receive a briefing about
credit counseling because of:

(J Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

| am currently on active military
duty in a military combat zone.

[J Active duty.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

I! received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

[1]! received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(J! certify that 1 asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you

were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case

may be dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

{[]! am not required to receive a briefing about
credit counseling because of:

(J Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

| am currently on active military
duty in a military combat zone.

CD Active duty.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)

 

Answer These Questions for Reporting Purposes

16. What kind of debts do you
have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities to
be?

Official Form 101

16a.

16b.

16c.

SO

O800 OO80 OOO

Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as "incurred by an individual primarily for a personal, family, or household purpose."

(1 No. Go to line 16b.

Yes. Go to line 17.

Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

C) No. Go to line 16c.

(C Yes. Go to line 17.

State the type of debts you owe that are not consumer or business debts.

 

No. !am not filing under Chapter 7. Go to line 18.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

No

| Yes
1-49 (0 + 1,000-5,000 0 25,001-50,000
50-99 OO 5,001-10,000 [J 50,001-100,000
100-199 [] 10,001-25,000 (1 More than 100,000
200-999
$0-$50,000 oO $1,000,001-$10 million CJ $500,000,001-$1 billion
$50,001-$100,000 oO $10,000,001-$50 million oO $1,000,000,001-$10 billion
$100,001-$500,000 oO $50,000,001-$100 million | $10,000,000,001-$50 billion
$500,001-$1 million (1 +$100,000,001-$500 million [FD More than $50 billion
$0-$50,000 oO $1,000,001-$10 million oO $500,000,001-$1 billion
$50,001-$100,000 oO $10,000,001-$50 million oO $1,000,000,001-$10 billion
$100,001-$500,000 oO $50,000,001-$100 million oO $10,000,000,001-$50 billion
$500,001-$1 million (+ $100,000,001-$500 million (1 More than $50 billion

Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
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Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

 

Debtor2_ ROXANA MARITZA SOTOMAYOR Case number (if known)
For you | have examined this petition, and | declare under penalty of perjury that the information provided is true

and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11, 12,
or 13 of title 11, United States Code. | understand the relief available under each chapter, and | choose to
proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me
fill out this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
| understand making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

        

CHRISTIAN MARCIANO FLORES, Debtor 1 ROKANAMARITZA’SOTOMAYOR, Debtor 2

Executed on | [280 3014 Executed on 279 L¢ LPG

MM / DD / YYYY MM / DD / YYYY

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known)

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you should
bankruptcy without an understand that many people find it extremely difficult to represent themselves

attorney successfully. Because bankruptcy has long-term financial and legal consequences, you are

strongly urged to hire a qualified attorney.

If you are represented by an

attorney, you do not need to To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical,

file this page. and a mistake or inaction may affect your rights. For example, your case may be dismissed because you
did not file a required document, pay a fee on time, attend a meeting or hearing, or cooperate with the
court, case trustee, U.S. trustee, bankruptcy administrator, or audit firm if your case is selected for audit.
If that happens, you could lose your right to file another case, or you may lose protections, including the
benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the court. Even
if you plan to pay a particular debt outside of your bankruptcy, you must list that debt in your schedules. If
you do not list a debt, the debt may not be discharged. If you do not list property or properly claim it as
exempt, you may not be able to keep the property. The judge can also deny you a discharge of all your
debts if you do something dishonest in your bankruptcy case, such as destroying or hiding property,
falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if debtors have

been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an
attorney. The court will not treat you differently because you are filing for yourself. To be successful,

you must be familiar with the United States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,
and the local rules of the court in which your case is filed. You must also be familiar with any state
exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

OC] No

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate
or incomplete, you could be fined or imprisoned?

DF No

Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

(J No
Yes. Name of Person CARMEN HERNANDEZ
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. | have
read and understood this notice, and | am aware that filing a bankruptcy case without an attorney may
cause me to lose my rights or property if | do not properly handle the case.

X CH no, Joe-— x

CHRISTIAN MARCIANO FLORES, Debtor 1 S@1 OMAYOR, Debtor 2

Date Otfot/ 201%. Date OF? 2S / 2973

  
    

MM/DD/YYYY MM / DD /YYYY
Contact phone Contact phone
Cell phone (949) 677-6578 Cell phone (202) 492-2930
Email address Email address

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8

 

 
 

 

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Fill in this information to identify your case:

 

Debtor 1 CHRISTIAN MARCIANO FLORES

First Name Middle Name Last Name

  
 
 

  
        

Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if filing) First Name Middle Name Last Name

         
 

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

    
 

Case number
(if known)

 

   

amended filing

 

Official Form 106Sum

 

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.

FEE summarize Your Assets

Your assets
Value of what you own

1. | Schedule A/B: Property (Official Form 106A/B)

 

1a. Copy line 55, Total real estate, from Schedule AIB...sscsvssssesnsstsnesistieinnintntssistisisnusietititieeeccc $0.00
1b. Copy line 62, Total personal Property, from Schedule A/B..........cccsssssssssssssesssssssssustisessenssssvassssssesssssssseeceeesssseec., $85,063.71
tc. Copy line 63, Total of all Property On Schedule AVB.........escccccccsssssssssnsssseesarsssusssssvissesssssasesssescssssassateceeecesceesecce. ___ $85,063.71

 

 

 

EERE summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ___ $278,561.79

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F $0.00

 

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j Of Schedule E/F.n...cccccscccscscccsseeee... + $90,646.74
Your total liabilities $369,208.53

 

 

 

EEE summarize Your Income and Expenses

4. Schedule I: Your Income (Official Form 1061)

Copy your combined monthly income from line 12 of Schedule b.........cscsssesssessssssssssssuseersssusssstsuasisitestseeeeeececcc. $6,272.65
5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c of SCHEdUIEC Joon. secsssseseeeecseesssnttscesssnmnsesssssssstusssrsnassstsasisessessststeecesstseceecce $5,785.52
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1

eee

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)

as

RE Answer These Questions for Administrative and Statistical Records

 

 

 

 

 

 

 

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
(1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes
7. What kind of debt do you have?
Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
(1) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.
8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from
Official Form 122A-1 Line 11; OR, Form 122B Line 11: OR, Form 122C-1 Line 14. __ $8,756.88
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations. (Copy line 6a.) _____—$0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) _____— $0.00
9d. Student loans. (Copy line 6f.) «$0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $00.00
priority claims. (Copy line 6g.)
$f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + _ «$0.00
9g. Total. Add lines 9a through 9f. $0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2

 

 
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Fill in this information to identify your case and this filing:

    

Debtor 1 CHRISTIAN MARCIANO FLORES
First Name Middle Name Last Name

Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if filing) First Name Middle Name Last Name

    

  
       

     
         
    

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 
 

Case number
(if known)

 

(1 Check if this is an
amended filing

 
 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

TEREME Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
C1 No. Go to Part 2.
Yes. Where is the property?

 

Official Form 106A/B Schedule A/B: Property page 1

a aa a

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

 

 

 

 

 

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)
1.1. What is the property? Do not deduct secured claims or exemptions. Put the
18233 SWISS CIRCLE APT 1-37 Check all that apply. amount of any secured claims on Schedule D:
Street address, if available, or other description (1 Single-family home Creditors Who Have Claims Secured by Property.
(J Duplex or multi-unit building Current value of the Current value of the
Condominium or cooperative entire property? portion you own?
GERMANTOWN MD 20874 ( Manufactured or mobile home $0.00 $0.00
City State ZIP Code oO Land
[[] Investment property Describe the nature of your ownership
oO Timeshare interest (such as fee simple, tenancy by the
MONTGOMERY [] Other entireties, or a life estate), if known.
ounty
RESIDENCE Who has an interest in the property? MORTGAGE
Check one.
oO Debtor 1 only [J Check if this is community property
( Debtor 2 only (see instructions)

Debtor 1 and Debtor 2 only
(UJ Atleast one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

PURCHASE DATE: 12/19/2013
PURCHASE PRICE: $143,589.00

*"MORTGAGE**
LOAN OBTAINED: 10/2016
LOAN AMOUNT: $128,264.00
MONTHLY PYMT: $837.09
BALANCE: $123,259.12

*“*LIQUIDATION***

$135,000.00 Value
$123,259.12 Mtg

$ 13,500.00 10% Cost and Sale

 

($ 1,759.12) Negative Equity

Official Form 106A/B Schedule A/B: Property page 2

a a a

 

 
Case 19-22142 Doc1

 

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Debtor 1 CHRISTIAN MARCIANO FLORES

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)

1.2. What is the property? Do not deduct secured claims or exemptions. Put the
9816 HELLINGLY PLACE #93 Check all that apply. amount of any secured claims on Schedule D:

 

Street address, if available, or other description

 

 

 

GAITHERSBURG MD 20886
City State ZIP Code
MONTGOMERY

County

RENTAL PROPERTY

PURCHASE DATE: 04/2007
PURCHASE PRICE: $170,000.000

***“MORTGAGE***

LOAN OBTAINED: 04/2007
LOAN AMOUNT: $170,000.00
MONTHLY PYMT: $875.91
BALANCE: $154,721.35

 

**LIQUIDATION***

$ 99,950.00 Value

$154,941.35 Mtg

$ 9,995.00 10% Cost and Sale

 

($ 64,986.35) Negative Equity

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any
entries for pages you have attached for Part 1. Write that number here

Official Form 106A/B

(J Singie-family home

[] Duptex or multi-unit building
Condominium or cooperative
CJ Manufactured or mobile home
( Land

oO Investment property

[J Timeshare

(J Other

Who has an interest in the property?
Check one.

fy] Debtor 1 only

[DD Debtor 2 oniy

(J Debtor 1 and Debtor 2 only

Oo At least one of the debtors and another

 

Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

$0.00 $0.00

Current value of the
entire property?

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by the
entireties, or a life estate), if known.

MORTGAGE

 

0 Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Schedule A/B: Property

 

 

 

> $0.00

 

page 3

EE EO EE

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known)

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

[J No

Yes
3.1. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: FORD Check one. amount of any secured claims on Schedule D:
Model: EXPLORER Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2004 [ Debtor 2 only Current value of the Current value of the

‘ a [0 Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: 173,000 [J Atleast one of the debtors and another $462.00 $462.00
Other information:
2001 FORD EXPLORER (approx. (J Check if this is community property
173,000 miles) (see instructions)
2DR/AUTO
FAIR CONDITION
PURCHASE DATE: 6/30/2000
PURCHASE PRICE: $23,100.00
NO LIENS
3.2. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: NISSAN Check one. amount of any secured claims on Schedule D:
Model: VERSA Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2012 (C] Debtor 2 only Current value of the Current vatue of the

, ne ( Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: 66,000 [J Atleast one of the debtors and another $2,048.00 $2,048.00

 

Other information:

2012 NISSAN VERSA (approx. 66,000 C0 Check if this is community property
miles) (see instructions)

4DR/AUTO

FAIR CONDITION

PURCHASE DATE: 11/2012

PURCHASE PRICE: $16,550.00

 

NO LIENS

3. © has an interest in the property? io not deduct secured claims or exemptions. Put the
3.3 Who h i in th ? D t deduct d clai i Put th
Make: NISSAN Check one. amount of any secured claims on Schedule D:
Model: ALTIMA [J Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2001 [J Debtor 2 only Current value of the Current value of the

: ——_—_—_—___ Debtor 1 and Debtor 2 only entire property? portion you own?

Approximate mileage: 146,000 LO Atleast one of the debtors and another $0.00 $0.00

 

Other information:

2001 NISSAN ALTIMA (approx. 146,000 [] Check if this is community property
miles) (see instructions)

4DR/AUTO

POOR CONDITION (NOT OPERABLE)

PURCHASE DATE: $6/14/2018

PURCHASE PRICE: $1,100.00

NO LIENS

Official Form 106A/B Schedule A/B: Property page 4

 
 

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Debtor 4 CHRISTIAN MARCIANO FLORES
Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

vw No
oO Yes

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any
entries for pages you have attached for Part 2. Write that number here.......csccccsccsssssessssssscssessececcecesecececceccece >

EERE Describe Your Personal and Household Items

Cy

 

 

$2,510.00

 

 

 

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

(] No

 

Yes. Describe.....1 LIVING ROOM: 1 COUCH, 1 LOVE SEAT, 1 TV.

DINING ROOM: 1 TABLE, 4 CHAIRS.

KITCHEN: 30 COOKING AND EATING UTENSILS.

BEDROOM #1: 1 BED, 3 CHEST DRAWERS, 2 DRESSERS, 1 TV.
BEDROOM #2: 2 BEDS, 1 CHEST DRAWER, 1 DRESSER, 1 TABLE, 1 TV.

 

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners:
music collections; electronic devices including cell phones, cameras, media players, games

[ No

 

Yes. Describe.....|2 LAPTOPS & 2 CELLS PHONE

 

 

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork: books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

 

fy No

oO Yes. Describe.....

 

 

 

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments

fyJ No

 

Oo Yes. Describe.....

 

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

fy No

 

O Yes. Describe.....

 

 

 

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

 

| No
Yes. Describe..... HUSBAND: 5 SUITS, 1 SPORT COAT, 8 SHIRTS, 6 PANTS, 4 SWEATERS, 6
PAIRS OF SHOES, 1 COAT, 1 JACKET.

WIFE: 2 SUITS, 3 BLAZERS, 3 SKIRTS, 3 PANTS, 2 BLOUSES, 3 DRESSES, 4
SWEATERS, 2 JACKETS, 1 COAT, 1 PAIRS OF SHOES, 3 PURSES.

 

 

 

Official Form 106A/B Schedule A/B: Property

a a

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

$500.00

$300.00

$500.00

page 5

 
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Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

 

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
0 No
fv] Yes. Describe...../ HUSBAND: 1 RING, 1 WATCH $300.00

WIFE: 1 NECKLACE, 1 BRACELET, 2 RINGS, 1 BROACH, 5 PAIRS OF EARRINGS

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses
No
CI Yes. Describe...

 

 

 

 

14, Any other personal and household items you did not already list, including any health aids you
did not list
No
CD Yes. Give specific
information.............

 

 

 

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
attached for Part 3. Write the number here...........cccsssscscssscsssrsssssesseseansesescsssssssssasecssensvenssessecseacauscssecesterararsences > ___ $1,600.00

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

 

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
petition
( No
FI VOCS cececeeeesneeseesnsseesneaneeseeseesseancsarsareansatsausancsuneansanesnssssssesseessesessescesseeseeseesessnsseeseesees Cash: wee $20.00

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
brokerage houses, and other similar institutions. If you have multiple accounts with the same
institution, list each.

 

 

 

 

 

[J No
VOS oii cceeeteeeeeetseteen Institution name:
17.1. Checking account: Checking account #X341
MID-ATLANTIC FCU $1,206.92
17.2. Checking account: Checking account #2270
SCHOOLS FIRST FCU $566.32
17.3. | Checking account: Checking account #0722
BANK OF AMERICA $5.30
17.4. | Checking account: Checking account #7908
BANK OF AMERICA $457.50
17.5. | Checking account: Checking account #6531
BANK OF AMERICA $345.86
17.6. | Checking account: Checking account #0341
BANK OF AMERICA
1/2 INTEREST WITH DAUGHTER $56.57

 

Official Form 106A/B Schedule A/B: Property page 6

 

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

 

 

 

 

 

 

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)
17.7. Checking account: Checking account #8010
BANK OF AMERICA
1/2 INTEREST WITH DAUGHTER $5.00
17.8. | Checking account: Checking account #3896
BANK OF AMERICA
1/2 INTEREST WITH SON $25.01
17.9. Checking account: Checking account #6544
BANK OF AMERICA
1/2 INTEREST WITH PARENT $150.00
17.10. Savings account: Savings account #X341
MID-ATLANTIC FCU $180.14
17.11. Savings account: Savings account #2270
SCHOOLS FIRST FCU $8.88
17.12. Savings account: Savings account #9186
BANK OF AMERICA $302.89
17.13, Other financial account: Other financial account (MONEY MARKET ACCT) #9577
ALLY/GMAC
1/4 INTEREST WITH FAMILY MEMBERS $156.56
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
No
Ly YES... eee teeeteeee Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLC, partnership, and joint venture
No
CI Yes. Give specific
information about
the... .cecccecceesseeeeee Name of entity: % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
No
Oo Yes. Give specific
information about
THEM... eee Issuer name:
21. Retirement or pension accounts

Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
profit-sharing plans

oO No
MI Yes. List each
account separately. Type of account: Institution name:

401(k) or similar plan: 401(k)

 

 

BANK OF AMERICA/MERRILL $51,175.77
Pension plan: Pension plan #0795

BANK OF AMERICA/FIDELITY INVESTMENTS $11,652.79
Pension plan: Pension plan #9169

BANK OF AMERICA/FIDELITY INVESTMENTS $14,638.20

 

Official Form 106A/B Schedule A/B: Property page 7

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2) ROXANA MARITZA SOTOMAYOR Case number (if known)

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

No
[I] YS. ee eeeeeeereetteeeeeee Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
fy No
[Oy VOS..- eee teteeetetetees Issuer name and description:

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

fyJ No

[] YES... eee Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
powers exercisable for your benefit

vw No
CD Yes. Give specific
information about them

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
Examples: \ntemet domain names, websites, proceeds from royalties and licensing agreements

vw No
CI Yes. Give specific
information about them

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
J No
[J Yes. Give specific
information about them

 

 

 

 

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

[J No
fy] Yes. Give specific information | Federal: 2018 FEDERAL TAX RETURN REFUND: $3,520.00| Federal: $0.00
about them, including whether | Amt: $0.00

 

you already filed the returns State: $0.00
ANd the tAX YEATS..nrrerrnrnree State: MD STATE TAX RETURN REFUND: $218.00. Amt: | Local: $0.00
$0.00 Or

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

fy] No

(J Yes. Give specific information Alimony:

 

Maintenance:
Support:

Divorce settlement:

 

 

Property settlement:

 

Official Form 106A/B Schedule A/B: Property page 8

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 =ROXANA MARITZA SOTOMAYOR Case number (if known)

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
compensation, Social Security benefits; unpaid loans you made to someone else

fy No

[] Yes. Give specific information

 

 

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
(J No
Yes. Name the insurance
company of each policy
and list its value.........000. Company name: Beneficiary: Surrender or refund value:

LIFE INSURANCE THROUGH

EMPLOYER

WITH CIGNA GROUP LIFE

TERM LIFE

DEATH BENEFIT: $104,000.00

NO CASH VALUE ROXANA M SOTOMAYOR $0.00

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
entitled to receive property because someone has died

f¥J No

| Yes. Give specific information

 

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

f7J No

oO Yes. Describe each claim........

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

fy No

oO Yes. Describe each claim........

 

 

 

 

35. Any financial assets you did not already list

fy No

CJ Yes. Give specific information

 

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that number here............scsssssssssessssssssssosssesessecssesscsssesecsssssecsesssesecstsutnsscesseseeseesecse > ___ $80,953.71

 

 

 

PERE Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

| No. Go to Part 6.
oO Yes. Go to line 38.

Official Form 106A/B Schedule A/B: Property page 9

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known)

 

Current value of the

portion you own?

Do not deduct secured

claims or exemptions.
38. Accounts receivable or commissions you already earned

fy No

oO Yes. Describe..

 

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
desks, chairs, electronic devices

fy No

ol Yes. Describe..

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

fyJ No

oO Yes. Describe..

 

 

 

 

41. Inventory

fy No

CD Yes. Describe..

 

 

 

 

42. Interests in partnerships or joint ventures

No

CI Yes. Describe..... Name of entity: % of ownership:
43. Customer lists, mailing lists, or other compilations

f¥J No

(J Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

[J No

oO Yes. Describe...

 

 

 

 

44. Any business-related property you did not already list

fy No

oO Yes. Give specific information.

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
attached for Part 5. Write that number here.................cccsssssssssssssscssssssscssseaseessscsesesersusessacstatacscsnsesazersessavenseneaes »> $0.00

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
CO Yes. Go to line 47.

Official Form 106A/B Schedule A/B: Property page 10

 

 

 
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Debtor 4 CHRISTIAN MARCIANO FLORES

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)

47.

48.

49.

50.

51.

52.

 

 

Farm animals
Examples: Livestock, poultry, farm-raised fish

fy] No

 

oO Yes...

 

 

Crops--either growing or harvested

fy No

 

Yes. Give specific
information................

 

 

 

Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

No
| Yes...

 

 

 

Farm and fishing supplies, chemicals, and feed

fy No

 

oO Yes...

 

 

 

Any farm- and commercial fishing-related property you did not already list

No

 

[7 Yes. Give specific
information................

 

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

 

Add the dollar value of all of your entries from Part 6, including any entries for pages you have
attached for Part 6. Write that mumber here..............scscssssssssscssssssesesscsessesssessesesansesrstesccsesacasseravssesuecasvensusnsses >

 

$0.00

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

53.

54.

Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

fy] No

CO Yes. Give specific information.

 

 

Add the dollar value of all of your entries from Part 7. Write that number here........ccccccesccccccscscssccsesssccssssonee >

$0.00

 

 

Official Form 106A/B Schedule A/B: Property

page 11

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known)

 

 

| Part 8: ee the Totals of Each Part of this Form
55. Part 1: Total real estate, lime 2.0... esssesssssssssessessssesessssssseessscsssscssssessusessssstesecesessuesssstarssessassssssspessnsessecsoscceesesss > $0.00

56. Part 2: Total vehicles, line 5 $2,510.00

57. Part 3: Total personal and household items, line 15 $1,600.00
58. Part 4: Total financial assets, line 36 $80,953.71
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61, Part 7: Total other property not listed, line 54 + $0.00

 

Copy personal

62. Total personal property. Add lines 56 through 61..............6.. $85,063.71 property total SD + $85,063.71

 

 

 

 

63. Total of all property on Schedule AJB. Add line 55 + line 62.........scecscccccssesecsssessssesccsssessssssssseecseseceeteecesceceeecccecen. $85,063.71

 

 

 

Official Form 106A/B Schedule A/B: Property page 12

aaa aaa

 

 
 

Case 19-22142 Doc1 Filed09/11/19 Page 23 of 63

Fill in this information to identify your case:

Debtor 1 CHRISTIAN MARCIANO FLORES

First Name Middle Name Last Name

Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 

(1 Check if this is an

Case number amended filing

(if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

 

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b\(3)
[[} You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own

Copy the value from Check only one box for

 

Schedule A/B each exemption
Brief description: $462.00 wv $462.00 Md. Code Ann., Cts. & Jud. Proc. §
2001 FORD EXPLORER (approx. 173,000 (1 100% of fairmarket 11-504(b)(5)
miles) value, up to any
2DR/AUTO applicable statutory
FAIR CONDITION limit

PURCHASE DATE: 6/30/2000
PURCHASE PRICE: $23,100.00
NO LIENS

Line from Schedule A/B: 3.1

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

MI No

( Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
OU No
Ol Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1

 

 
 

Case 19-22142 Doc1

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

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Additional Page

Case number (if known)

 

 

Brief description of the property and line on
Schedule A/B that lists this property the portion you

own

Copy the value from

Current value of

Amount of the
exemption you claim

Check only one box for

 

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

Schedule A/B each exemption
Brief description: $2,048.00 $2,048.00 Md. Code Ann., Cts. & Jud. Proc. §
2012 NISSAN VERSA (approx. 66,000 [] 100% of fairmarket 11-504(b)(5)
miles) value, up to any
4DR/AUTO applicable statutory
FAIR CONDITION limit
PURCHASE DATE: 11/2012
PURCHASE PRICE: $16,550.00
NO LIENS
Line from Schedule A/B: 3.2
Brief description: $500.00 Ww $500.00 Md. Code Ann., Cts. & Jud. Proc. §
LIVING ROOM: 1 COUCH, 1 LOVE SEAT, 1 (] 100% offairmarket 11-504(b)(4)
TV. value, up to any
DINING ROOM: 1 TABLE, 4 CHAIRS. applicable statutory
KITCHEN: 30 COOKING AND EATING limit
UTENSILS.
BEDROOM #1: 1 BED, 3 CHEST DRAWERS,
2 DRESSERS, 1 TV.
BEDROOM #2: 2 BEDS, 1 CHEST DRAWER,
1 DRESSER, 1 TABLE, 1 TV.
Line from Schedule A/B: 6
Brief description: $300.00 $300.00 Md. Code Ann., Cts. & Jud. Proc. §
2 LAPTOPS & 2 CELLS PHONE C] 100% of fairmarket 11-504(b)(5)
Line from Schedule A/B: 7 value, up to any
—_ applicable statutory

limit
Brief description: $500.00 $500.00 Md. Code Ann., Cts. & Jud. Proc. §
HUSBAND: 5 SUITS, 1 SPORT COAT, 8 CJ 100% of fairmarket 11-504(b)(4)
SHIRTS, 6 PANTS, 4 SWEATERS, 6 PAIRS value, up to any
OF SHOES, 1 COAT, 1 JACKET. applicable statutory

limit
WIFE: 2 SUITS, 3 BLAZERS, 3 SKIRTS, 3
PANTS, 2 BLOUSES, 3 DRESSES, 4
SWEATERS, 2 JACKETS, 1 COAT, 1 PAIRS
OF SHOES, 3 PURSES.
Line from Schedule A/B: 11
Brief description: $300.00 $300.00 Md. Code Ann., Cts. & Jud. Proc. §
HUSBAND: 1 RING, 1 WATCH ([] 100% of fairmarket 11-504(b)(5)

value, up to any
WIFE: 1 NECKLACE, 1 BRACELET, 2 RINGS, applicable statutory
1 BROACH, 5 PAIRS OF EARRINGS limit
Line from Schedule A/B: 12
Brief description: $20.00 $20.00 Md. Code Ann., Cts. & Jud. Proc. §

 

CASH ON HAND: $20.00
Line from Schedule A/B: 16

Of

100% of fair market
value, up to any
applicable statutory
limit

11-504(b)(5)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 2

 

 
 

Case 19-22142 Doc1

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

 

Additional Page

Brief description of the property and line on
Schedule A/B that lists this property the portion you

own

Copy the value from

Current value of

Amount of the
exemption you claim

Check only one box for

Case number (if known)

 

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Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B each exemption
Brief description: $1,206.92 $1,206.92 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #X341 [ 100% of fairmarket 11-504(b)(5)
MID-ATLANTIC FCU value, up to any
Line from Schedule A/B: _ 17.1 applicable statutory
limit
Brief description: $180.14 $180.14 Md. Code Ann., Cts. & Jud. Proc. §
Savings account #X341 [J 100% of fairmarket 11-504(b)(5)
MID-ATLANTIC FCU value, up to any
Line from Schedule A/B: 17.10 applicable statutory
— limit
Brief description: $566.32 1 $566.32 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #2270 [ 100% of fairmarket 11-504(b)(5)
SCHOOLS FIRST FCU value, up to any
Line from Schedule A/B: 17.2 applicable statutory
limit
Brief description: $8.88 J} $8.88 Md. Code Ann., Cts. & Jud. Proc. §
Savings account #2270 [] 100% of fairmarket 11-504(b)(5)
SCHOOLS FIRST FCU value, up to any
Line from Schedule A/B: 17.11 applicable statutory
limit
Brief description: $5.30 $5.30 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #0722 [ 100% of fair market 11-504(b)(5)
BANK OF AMERICA value, up to any
Line from Schedule A/B: 17.3 applicable statutory
| limit
Brief description: $457.50 ww $457.50 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #7908 [J 100% of fairmarket 141-504(b)(5)
BANK OF AMERICA value, up to any
Line from Schedule A/B: 17.4 applicable statutory
limit
Brief description: $302.89 $302.89 Md. Code Ann., Cts. & Jud. Proc. §
Savings account #9186 [J 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any
Line from Schedule A/B: 17.12 applicable statutory
TT limit
Brief description: $345.86 $345.86 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #6531 ( 100% of fairmarket  11-504(b)(5)
BANK OF AMERICA value, up to any
Line from Schedule A/B: 17.5 applicable statutory
limit
Brief description: $56.57 $56.57 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #0341 [] 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any

1/2 INTEREST WITH DAUGHTER
Line from Schedule A/B: _ 17.6

applicable statutory
limit

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 3

 

 

 
 

Case 19-22142 Doc1

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

 

EEE Additional Page

Case number (if known)

 

 

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—

 

Current value of
the portion you
own

Brief description of the property and line on
Schedule A/B that lists this property

Copy the value from

Amount of the
exemption you claim

Check only one box for

 

Specific laws that allow exemption

 

 

 

 

 

 

 

 

Schedule A/B each exemption

Brief description: $5.00 wi $5.00 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #8010 C] 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any

applicable statutory
1/2 INTEREST WITH DAUGHTER limit
Line from Schedule A/B: 17.7
Brief description: $25.01 $25.01 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #3896 [ 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any

applicable statutory
1/2 INTEREST WITH SON limit
Line from Schedule A/B: 17.8
Brief description: $150.00 $150.00 Md. Code Ann., Cts. & Jud. Proc. §
Checking account #6544 [ 100% of fairmarket 11-504(b)(5)
BANK OF AMERICA value, up to any

applicable statutory
1/2 INTEREST WITH PARENT limit
Line from Schedule A/B: 17.9
Brief description: $156.56 $156.56 Md. Code Ann., Cts. & Jud. Proc. §
Other financial account (MONEY MARKET [J 100% of fair market 11-504(b)(5)
ACCT) #9577 value, up to any
ALLY/GMAC applicable statutory

limit
1/4 INTEREST WITH FAMILY MEMBERS
Line from Schedule A/B: 17.13
Brief description: $11,652.79 Mi $11,652.79 Md. Code Ann., Cts. & Jud. Proc. §
Pension plan #0795 CJ 100% of fairmarket 11-504(h)

BANK OF AMERICA/FIDELITY INVESTMENTS
Line from Schedule A/B: 21

value, up to any
applicable statutory
limit

 

 

 

 

 

Brief description: $14,638.20 1 $14,638.20 Md. Code Ann., Cts. & Jud. Proc. §
Pension plan #9169 C] 100% of fairmarket 11-504(h)
BANK OF AMERICA/FIDELITY INVESTMENTS value, up to any
Line from Schedule A/B: 21 applicable statutory
limit
Brief description: $51,175.77 v1 $51,175.77 Md. Code Ann., Cts. & Jud. Proc. §
401(k) [ 100% of fairmarket 11-504(h)
BANK OF AMERICA/MERRILL value, up to any
Line from Schedule A/B: 21 applicable statutory
limit
Official Form 106C Schedule C: The Property You Claim as Exempt page 4

a arn ce

 

 
 

Case 19-22142 Doc1 Filed 09/11/19 Page 27 of 63

Fill in this information to identify your case:

Debtor 1 CHRISTIAN MARCIANO FLORES

First Name Middle Name Last Name

Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if fiting) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

Case number
(if known)

 

( Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

( No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
| Yes. Fillin all of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured

 

 

 

 

claim, list the creditor separately for each claim. If more than one Column A = Column Bo Column C
creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral I isecured
much as possible, list the claims in alphabetical order according to the Donotdeductthe that supports this ‘portion .
creditor's name. value of collateral claim If any

Describe the property that $154,721.35 $0.00 $154,721.35

secures the claim: 3 : . , :

BANK OF AMERICA

Creditors name 9816 HELLINGLY PLACE #93

PO BOX 31785

 

Number Street

 

As of the date you file, the claim is: Check all that apply.

C0 Contingent |
TAMPA FL__ 33631  Uniiquidated
City State ZIP Code Oo Disputed

Who owes the debt? Check one. Nature of lien. Check all that apply.

Debtor 1 only (] An agreement you made (such as mortgage or secured car loan)

[1 Debtor 2 only [J Statutory tien (such as tax lien, mechanic's lien)
[1] Debtor 1 and Debtor 2 only (J Judgment lien from a lawsuit

oO At least one of the debtors and another Other (including a right to offset)

CJ Check if this claim relates Fee Simple
to a community debt

 

Date debt was incurred Last 4 digits of account number 7 9 6 7

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $154,721.35

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property . page 1

 

 
 

 

EE EEEEEDSSESS'S' ~~
Case 19-22142 Doc1 Filed 09/11/19 Page 28 of 63

Debtor 1 CHRISTIAN MARCIANO FLORES

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)
Additional Page Colum A CoumB = = Coumic
Amount of claim Value of collateral Unsecured
Donotdeductthe that supports this portion
value of collateral claim” Hany

Describe the property that
secures the claim. $123,259.12 $0.00 $123,259.12
CARRINGTON MORTGAGE SER 18233 SWISS CIRCLE APT 4

Creditor's name
PO BOX 5001

Number _ Street

After listing any entries on this Page, number them
sequentially from the previous page.

 

 

As of the date you file, the claim is: Check ail that apply.
LJ Contingent

 

 

WESTFIELD IN 46074 [J Unliquidated
City State ZIP Code oO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.

C7 Debtor 1 only
(J Debtor 2 only
fy] Debtor 1 and Debtor 2 only

[DJ Judgment lien from a lawsuit
[7 Atleast one of the debtors and another Other (including a right to offset)

(1 Check if this claim relates Fee Simple
to a community debt

(J An agreement you made (such as mortgage or secured car loan)
oO Statutory lien (such as tax lien, mechanic's lien)

Date debt was incurred Last 4 digits of account number 116 5
Describe the property that
secures the claim: $361.32 $0.00 $361.32

 

CHRISTOPHER COURT CONDOMINII
Creditor's name
3706 CRONDALL LANE STE 105

Number Street

18233 SWISS CIRCLE APT 1

 

As of the date you file, the claim is: Check all that apply.
DD Contingent

OWINGS MILL MD 21117 [J Unliquidated

City State ZIP Code oO Disputed

Who owes the debt? Check one.
[J Debtor 1 only

(J Debtor 2 only

Debtor 1 and Debtor 2 only

(J Judgment tien from a lawsuit
(J Atleast one of the debtors and another Other (including a right to offset)

(J Check if this claim relates Collecting for - CONDO ASSOCIATION FEE
to a community debt

 

Nature of lien. Check all that apply.
[J An agreement you made (such as mortgage or secured car loan)
[J Statutory lien (such as tax lien, mechanic's lien)

Date debt was incurred Last 4 digits of account number

5.3 3 5.

 

 

 

 

Add the dollar value of your entries in Column A on this page. Write
that number here: —__ $123,620.44
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2

ara

 

 
 

 

TS SS
Case 19-22142 Doc1 Filed09/11/19 Page 29 of 63

Debtor 1 CHRISTIAN MARCIANO FLORES

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)
Additional Page CoumA — —«- ColumnB = Column G
Amount of claim —_Value of collateral Unsecured _

Do not deduct the _ that supports this portion
value of collateral claim : any.

Describe the Property that
secures the claim: $220.00 $0.00 $220.00
FARMINGDALE CONDO INC 9816 HELLINGLY PLACE #93

Creditor's name

C/O THE MANAGEMENT GROUP AS:

Number Street

20440 CENTURY BLVD STE 100

After listing any entries on this page, number them
sequentially from the previous Page.

 

 

 

As of the date you file, the claim is: Check all that apply.
oO Contingent

GERMANTOWN MD _ 20879 [ Unliquidated
City State ZIP Code oO Disputed

Who owes the debt? Check one. Nature of lien. Check all that apply.
fy] Debtor 1 only (0 An agreement you made (such as mortgage or secured car loan)

[] Debtor 2 only [J Statutory lien (such as tax lien, mechanic's lien)
(J Debtor 1 and Debtor 2 only

(J Judgment lien from a lawsuit
oO At least one of the debtors and another a Other (including a right to offset)

CJ Check if this claim relates Fee Simple
to a community debt

 

Date debt was incurred Last 4 digits of account number 0 1 0 3

 

 

 

 

 

 

Add the dollar value of your entries in Column A on this page. Write
that number here: —___ $220.00
LY
If this is the last page of your form, add the dollar value totals from
all pages. Write that number here: __ $278,561.79
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3

aaa

 

 
 

Case 19-22142 Doc1 Filed 09/11/19 Page 30 of 63

Fill in this information to identify your case:

 

 

 

Debtor 1 CHRISTIAN MARCIANO FLORES

First Name Middle Name Last Name
Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 

(renown er 1 Check if this is an
amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts

on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page

to this page. On the top of any additional pages, write your name and case number (if known).

| Part1: [es All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
fy No. Go to Part 2.
CI Yes.

2. List all of your priority unsecured claims. /f a creditor has more than one priority unsecured claim, list the creditor separately for each
claim. For each claim listed, identify what type of claim itis. If a claim has both priority and nonpriority amounts, list that claim here and
show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
claim, list the other creditors in Part 3.

 

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
Totalclaim ‘Priority =—_—Nonpriority
amount = ss amount

 

2.1

 

 

 

 

 

Priority Creditors Name Last 4 digits of account number

When was the debt incurred?

 

Number Street

As of the date you file, the claim is: Check all that apply.
[J Contingent
(CJ Unliquidated

 

 

 

City State ZIP Code O Disputed

Who incurred the debt? = Check one. Type of PRIORITY unsecured claim:

[-] Debtor 1 only [J Domestic support obligations

[J Debtor 2 only ((] Taxes and certain other debts you owe the government
[[] Debtor 1 and Debtor 2 only (LJ Claims for death or personal injury while you were

[L} Atleast one of the debtors and another intoxicated

C] Check if this claim is for a community debt [] Other. Specify

Is the claim subject to offset?
Oo No

oO Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1

 

 
 

Case 19-22142 Doc1

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

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Filed 09/11/19 Page 31 of 63

Case number (if known)

 

| Part 2: (en All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

[] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.

If a creditor has more than one nonpriority unsecured claim, list the creditor s
type of claim it is. Do not list claims already included in Part 1.

Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

 

4.1

BANK OF AMERICA
Nonpriority Creditor's Name
400 CHRISTIANA ROAD

Number Street

 

 

 

 

 

 

NEWARK DE 19713
City State ZIP Code
Who incurred the debt? Check one.

[[] Debtor 4 only

[YJ Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

(CJ Check if this claim is for a community debt
Is the claim subject to offset?

No
oO Yes

4.2

BANK OF AMERICA
Nonpriority Creditors Name
400 CHRISTIANA ROAD
Number Street

 

 

 

 

 

 

 

NEWARK DE 19713
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only

Debtor 2 only

[J Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

(J Check if this claim is for a community debt
Is the claim subject to offset?

fy] No

D Yes

Official Form 106E/F

Last 4 digits of account number 2 3) 8 Oo
When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

LC] Contingent
CJ Unliquidated
CJ Disputed

Type of NONPRIORITY unsecured claim:
(CJ Student loans
CJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(J Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Credit Card

Last 4 digits of account number 6 1 9 9
When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.
1 Contingent

CD Unliquidated

[J Disputed

Type of NONPRIORITY unsecured claim:
(CJ Student toans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(UJ Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Credit Card

Schedule E/F: Creditors Who Have Unsecured Claims

errr

 

—

eparately for each claim. For each claim listed, identify what
If more than one creditor holds a particular claim, list the other creditors in

_Total claim:

$4,855.00

$6,614.00

 

page 2
 

Case 19-22142 Doc1

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

 

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Case number (if known)
Se

Ee your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.3
BANK OF AMERICA

Nonpriority Creditor's Name
400 CHRISTIANA ROAD

Number Street

 

 

 

 

 

 

 

NEWARK DE 19713
City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only

[J Debtor 2 only

[J Debtor 1 and Debtor 2 only

[[] Atleast one of the debtors and another

CJ Check if this claim is for a community debt
Is the claim subject to offset?

VW No
Oo Yes

4.4
BANK OF AMERICA

Nonpriority Creditors Name
400 CHRISTIANA ROAD

Number Street

 

 

 

 

 

 

 

NEWARK DE 19713
City State ZIP Code
Who incurred the debt? — Check one.

Debtor 1 only

[J Debtor 2 only

[J Debtor 1 and Debtor 2 only

O At least one of the debtors and another

(J Check if this claim is for a community debt
Is the claim subject to offset?

Mw No
] Yes

4.5
BANK OF AMERICA

Nonpriority Creditor's Name

400 CHRISTIANA ROAD

Number Street

 

 

 

 

 

 

 

NEWARK DE 19713
City State ZIP Code
Who incurred the debt? Check one.

Vv Debtor 1 only

0 Debtor 2 only

oO Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

CJ Check if this claim is for a community debt
Is the claim subject to offset?

No

C] Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

rat

Total claim

$17,462.00
Last 4 digits of account number Oo 5 5 6

When was the debt incurred?
—_—

As of the date you file, the claim is: Check all that apply.
CQ Contingent

C] Unliquidated

C7 Disputed

Type of NONPRIORITY unsecured claim:
( Student loans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(CJ Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Credit Card

$9,719.00
Last 4 digits of account number 4 1 1 3)

When was the debt incurred?
—

As of the date you file, the claim is: Check all that apply.
(] Contingent

CJ Unliquidated

CJ Disputed

Type of NONPRIORITY unsecured claim:
[J Student loans
[1 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[J Debts to pension or profit-sharing plans, and other similar debts
J Other. Specify
Credit Card

$8,159.00
Last 4 digits of account number 9 3) 6 1

When was the debt incurred?
———

As of the date you file, the claim is: Check all that apply.
CJ Contingent

CJ Unliquidated

Cy Disputed

Type of NONPRIORITY unsecured claim:
(J Student loans
DJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[[] Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Credit Card

page 3

 

 
Case 19-22142 Doc 1

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

 

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Case number (if known)
ee

EE vou NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this Page, number them sequentially from the

previous page.
4.6
CHASE CARD

Nonpriority Creditor's Name
PO BOX 15298

Number Street

 

 

 

 

 

 

WILMINGTON DE 19850
City State ZIP Code

Who incurred the debt? | Check one.
Debtor 1 only

[J Debtor 2 only

[[] Debtor 1 and Debtor 2 only

O At least one of the debtors and another

DD Check if this claim is for a community debt
Is the claim subject to offset?

VW No
[J Yes

47
CITICARDS CBNA

Nonpriority Creditors Name
PO BOX 6241

Number Street

 

 

 

 

 

 

 

SIOUX FALLS SD 57117
City State ZIP Code
Who incurred the debt? ~— Check one.

Debtor 1 only

oO Debtor 2 only

[FJ Debtor 1 and Debtor 2 only

[J At least one of the debtors and another

(J Check if this claim is for a community debt
Is the claim subject to offset?

No
oO Yes

4.8

CITICARDS CBNA
Nonpriority Creditors Name
PO BOX 6241

Number Street

 

 

 

 

 

 

SIOUX FALLS SD 57117
City State ZIP Code

Who incurred the debt? Check one.
Debtor 1 only

oO Debtor 2 only

(J Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

CI] Check if this claim is for a community debt
Is the claim subject to offset?

No
oO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

ee

Total claim

$10,100.00
Last 4 digits of account number 6 4 5 7

When was the debt incurred?

ee
As of the date you file, the claim is: Check all that apply.

CJ Contingent
oO Unliquidated

DD Disputed

Type of NONPRIORITY unsecured claim:
[J Student toans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(J Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Credit Card

$7,829.19
Last 4 digits of account number oO 7 3. 2

When was the debt incurred?

——_
As of the date you file, the claim is: Check all that apply.

0 Contingent
CJ Unliquidated
(] Disputed

Type of NONPRIORITY unsecured claim:
(J Student loans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
oO Debts to pension or profit-sharing plans, and other similar debts
f¥J Other. Specify
Credit Card

$7,360.00
Last 4 digits of account number 4A 7 4 9

When was the debt incurred?

——
As of the date you file, the claim is: Check all that apply.
CD Contingent
(] Unliquidated
Cy Disputed

Type of NONPRIORITY unsecured claim:
[J Student loans
(] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
oO Debts to pension or profit-sharing plans, and other similar debts
PI Other. Specify
Credit Card

page 4
ED ES: CCU”~S~™~™S”S

Case 19-22142 Doc1 Filed09/11/19 Page 34 of 63

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES

ROXANA MARITZA SOTOMAYOR Case number (if known)

 

 

ee Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

previous page. Total claim:
4.9 $963.80
KAISER PERMANENTE Last 4 digits of account number 3.11 2
Nonpriority Creditor's Name .
PATIENT FINANCIAL SERVICES When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
2101 E JEFFERSON ST 4 EAST J Contingent
[] Unliquidated
oO Disputed
ROCKVILLE MD 20852
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. [J Student loans
O eee ony (J Obligations arising out of a separation agreement or divorce
vi Debtor 1 and D btor 2 onl that you did not report as priority claims
[1] Debtor 1 and Debtor 2 only () Debts to pension or profit-sharing plans, and other similar debts
([] Atleast one of the debtors and another wi Other. Specify
(] Check if this claim is for a community debt Collecting for - MEDICAL
Is the claim subject to offset?
fy] No
(] Yes
4.10 $563.20
KAISER PERMANENTE Last 4 digits of account number 3 1 141 2
Nonpriority Creditors Name . 2
PATIENT FINANCIAL SERVICES When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
2101 E JEFFERSON ST 4 EAST 1 Contingent
LD] Unliquidated
CJ Disputed
ROCKVILLE MD 20852
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? = Check one. [J Student loans
O Ore ony ( Obligations arising out of a separation agreement or divorce
vj Debtor 1 and btor 2 onl that you did not report as priority claims
O entor 7 and Debtor 2 only oO Debts to pension or profit-sharing plans, and other similar debts
(CJ Atleast one of the debtors and another Other. Specify
0D Check if this claim is for a community debt Collecting for - MEDICAL
Is the claim subject to offset?
fy] No
CI] Yes
41 $594.20
KAISER PERMANENTE Last 4 digits of account number 3 1 1 2
Nonpriority Creditor's Name : 2
PATIENT FINANCIAL SERVICES When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
2101 E JEFFERSON ST 4 EAST 1 Contingent
[J Unliquidated
oO Disputed
ROCKVILLE MD 20852
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? = Check one. [J Student loans
Oa ony (J Obligations arising out of a separation agreement or divorce
eotor < only that you did not report as priority claims
[J Debtor 1 and Debtor 2 only
[CJ Debts to pension or profit-sharing plans, and other similar debts
[TJ Atleast one of the debtors and another Other. Specify
0 Check if this claim is for a community debt Collecting for - MEDICAL
Is the claim subject to offset?
No
(J Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 5

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Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR Case number (if known)

EE Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

previous page. Total claim —
4.12 $0.00

KAISER PERMANENTE Last 4 digits of accountnumber 3 4 1 2

Nonpriority Creditor's Name a

PATIENT FINANCIAL SERVICES
Number Street

2101 E JEFFERSON ST 4 EAST

 

 

ROCKVILLE MD 20852
City State ZIP Code
Who incurred the debt? Check one.

CI Debtor 1 only

| Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

CJ Check if this claim is for a community debt
Is the claim subject to offset?

No

C] Yes

4.13

KAISER PERMANENTE

Nonpriority Creditor's Name

PATIENT FINANCIAL SERVICES
Number Street

2101 E JEFFERSON ST 4 EAST

 

 

 

 

 

 

ROCKVILLE MD 20852
City State ZIP Code
Who incurred the debt? Check one.

oO Debtor 1 only

M Debtor 2 only

[CJ Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

CJ Check if this claim is for a community debt
Is the claim subject to offset?

No
CI Yes

4.14

KAISER PERMANENTE
Nonpriority Creditor's Name
PATIENT FINANCIAL SERVICES

Number Street

2101 E JEFFERSON ST 4 EAST

 

 

 

 

 

 

ROCKVILLE MD 20852
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only

Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

[) Check if this claim is for a community debt

Is the claim subject to offset?

Mw No
oO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

rrr

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
Contingent

(J Unliquidated

(J Disputed

Type of NONPRIORITY unsecured claim:
(J Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(J Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Collecting for - MEDICAL

$2,535.75
Last 4 digits of account number 3 11 2

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
[J Contingent

[J Unliquidated

[7] Disputed

Type of NONPRIORITY unsecured claim:
[J Student loans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(J Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Collecting for - MEDICAL

$2,602.75
Last 4 digits of account number 3 1 1t 2.

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
1 Contingent

oO Unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
(J Student loans
(J Obligations arising out of a Separation agreement or divorce
that you did not report as priority claims
oO Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Collecting for - MEDICAL

page 6

 

 
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Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES

ROXANA MARITZA SOTOMAYOR Case number (if known)

 

Ee Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

 

 

 

 

 

previous page. Total claim
4.15 $623.00
KOHLS / CAPITAL ONE Last 4 digits of account number 7 6 8 1.
Nonpriority Creditors Name . 2
PO BOX 3043 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
1 Contingent
(CD Unliquidated
C] Disputed
MILWAUKEE wi 53201-3043
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? = Check one.

[J Debtor 1 only

Debtor 2 only

(J Debtor 1 and Debtor 2 only

[7] At least one of the debtors and another

( Check if this claim is for a community debt
Is the claim subject to offset?

No

CJ Yes

4.16

NATIONWIDE RECOVERY SERVICES
Nonpriority Creditor's Name

 

 

 

 

 

 

 

 

PO BOX 8005

Number Street

CLEVELAND ™N 37320
City State ZIP Code
Who incurred the debt? Check one.

(J Debtor 1 only

Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

 

 

 

 

 

 

 

 

 

(J Student loans

| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(1) Debts to pension or profit-sharing plans, and other similar debts

Other. Specify
Credit Card

$707.00
Last 4 digits of account number 5 0 3) 2

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.
Contingent
g
(1 Unliquidated
C Disputed

Type of NONPRIORITY unsecured claim:
(CJ Student loans
0 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(CJ Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Collecting for - MEDICAL

 

No
CJ Yes
4.17 $234.00
NATIONWIDE RECOVERY SERVICES Last 4 digits of account number 5 0 3 2
Nonpriority Creditors Name . 9
PO BOX 8005 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
(J Contingent
C Unliquidated
CJ Disputed
CLEVELAND ™ 37320
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one. (1 Student loans
O Does ony LJ Obligations arising out of a separation agreement or divorce
4 Debtor 1 ond D btor 2 onl that you did not report as priority claims
[1] Debtor 1 and Debtor 2 only [[] Debts to pension or profit-sharing plans, and other similar debts
DJ Atleast one of the debtors and another Other. Specify
A .
[ Check if this claim is for a community debt Collecting for - MEDICAL
Is the claim subject to offset?
fy] No
C] Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 7

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Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

 

Case number (if known)

 

 

EE Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

previous page. Total claim
4.18 $199.00
NATIONWIDE RECOVERY SERVICES Last 4 digits of account number 5 0 3 2
Nonpriority Creditor's Name .
PO BOX 8005 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
O Contingent
( Unliquidated
(J Disputed
CLEVELAND TN 37320
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? = Check one. [1 Student loans
Oe ony oO Obligations arising out of a separation agreement or divorce
Debtor 1 and D btor 2 ont that you did not report as priority claims
[] Debtor 1 and Debtor 2 only [DJ Debts to pension or profit-sharing plans, and other similar debts
[LJ Atleast one of the debtors and another Other. Specify
(1 Check if this claim is for a community debt Collecting for - MEDICAL
Is the claim subject to offset?
No
0 Yes
4.19 $190.00
NATIONWIDE RECOVERY SERVICES Last 4 digits of accountnumber 5 0 3 2
Nonpriority Creditors Name : 2
PO BOX 8005 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
1 Contingent
(J Unliquidated
oO Disputed
CLEVELAND ™N 37320
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? = Check one. [DJ Student loans
De ony (J Obligations arising out of a separation agreement or divorce
edtor < only that you did not report as priority claims
Debtor 1 and Debtor 2 only . . . oe
oO Debts to pension or profit-sharing plans, and other similar debts
[J Atleast one of the debtors and another Other. Specify
(1 Check if this claim is for a community debt Collecting for - MEDICAL
Is the claim subject to offset?
wi No
| Yes
4.20 $146.00
NATIONWIDE RECOVERY SERVICES Last 4 digits of account number 5 0 3 2
Nonpriority Creditor's Name . —
PO BOX 8005 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
Contingent
O g
CJ Unliquidated
CO Disputed
CLEVELAND ™N 37320
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? — Check one. [7] Student loans
= Dro ony oO Obligations arising out of a separation agreement or divorce
Debtor 1 ond D btor 2 ont that you did not report as priority claims
O ebtor 71 and Vebtor 2 only oO Debts to pension or profit-sharing plans, and other similar debts
(7 Atleast one of the debtors and another Other. Specify
R .
(0 Check if this claim is for a community debt Collecting for - MEDICAL
Is the claim subject to offset?
Mw No
CJ Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 8

 

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Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

Case number (if known)

re Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

previous page.
4.21

NATIONWIDE RECOVERY SERVICES
Nonpriority Creditors Name
PO BOX 8005

Number Street

 

 

 

 

 

 

 

CLEVELAND ™N 37320
City State ZIP Code
Who incurred the debt? — Check one.

(J Debtor 1 only

YJ Debtor 2 only

(J Debtor 1 and Debtor 2 only

O At least one of the debtors and another

[J Check if this claim is for a community debt
Is the claim subject to offset?

No
CI Yes

4.22

NATIONWIDE RECOVERY SERVICES
Nonpriority Creditors Name
PO BOX 8005

Number Street

 

 

 

 

 

 

 

CLEVELAND ™ 37320
City State ZIP Code
Who incurred the debt? Check one.

[] Debtor 4 only

Debtor 2 only

(J Debtor 1 and Debtor 2 only

(CJ Atleast one of the debtors and another

[J Check if this claim is for a community debt
is the claim subject to offset?

ww No

CJ Yes

4.23
NATIONWIDE RECOVERY SERVICES

Nonpriority Creditor's Name

 

 

 

 

 

 

 

 

PO BOX 8005

Number Street

CLEVELAND T™N 37320
City State ZIP Code

Who incurred the debt? = Check one.

[J Debtor 1 only

Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

(J Check if this claim is for a community debt
Is the claim subject to offset?

No
oO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

rarer arrears

“Total claim :

$111.00
Last 4 digits of account number 5 0 3 2

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

[1 Contingent
( Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
[] Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[DD Debts to pension or profit-sharing plans, and other similar debts
7] Other. Specify
Collecting for - MEDICAL

$69.00
Last 4 digits of account number 5 0 3 2

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.
O Contingent

(7 unliquidated

CJ Disputed

Type of NONPRIORITY unsecured claim:
(J Student loans
(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
((] Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Collecting for - MEDICAL

$51.00
Last 4 digits of account number 5 0 3 2

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.
CJ Contingent

[J Unliquidated

C Disputed

Type of NONPRIORITY unsecured claim:
(J Student loans
[DJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
([] Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Collecting for - MEDICAL

page 9

 

 
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Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES

ROXANA MARITZA SOTOMAYOR Case number (if known)

 

Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

previous page. Total claim
4.24 $50.00
NATIONWIDE RECOVERY SERVICES Last 4 digits ofaccountnumber 5 0 3 2
Nonpriority Creditor's Name :
PO BOX 8005 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
C Contingent
(J Unliquidated
C Disputed
CLEVELAND ™N 37320
City > State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred tne debt? Check one. [] Student loans
Debtor 2 on [J Obligations arising out of a separation agreement or divorce
Mi Debtor 1 and D btor 2 onl that you did not report as priority claims
eptor © and Beptor < only (CJ Debts to pension or profit-sharing plans, and other similar debts
[J Atleast one of the debtors and another wi Other. Specify
(] Check if this claim is for a community debt Collecting for - MEDICAL
Is the claim subject to offset?
No
CI Yes
4.25 $8,511.00
TARGET CARD SERVICES Last 4 digits ofaccountnumber 2 4 8 5
Nonpriority Creditors Name . 2 TT
PO BOX 9500 When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
CJ Contingent
CD Unliquidated
oO Disputed
MINNEAPOLIS MN 55440
City > State ZIP Code Type of NONPRIORITY unsecured claim:
pre incurred the debt? Check one. Student loans
Debtor > oa [J Obligations arising out of a separation agreement or divorce
Debtor 1 ond D btor 2 onl that you did not report as priority claims
[] Debtor 1 and Debtor 2 only Debts to pension or profit-sharing plans, and other similar debts
[J Atleast one of the debtors and another a Other. Specify
(CI Check if this claim is for a community debt Credit Card
Is the claim subject to offset?
No
CI Yes
4.26 $397.85
TMOBILE Last 4 digits of account number
Nonpriority Creditor's Name .
BANKRUPTCY DEPT When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
PO BOX 53410 | Contingent
Oo Unliquidated
oO Disputed
BELLEVUE WA _—98015-3410
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.

(J Debtor 1 only

Debtor 2 only

[1] Debtor 1 and Debtor 2 only

[-] Atleast one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?
No
(J Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

CO Student loans
{([] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Collecting for - CELL PHONE

page 10

 

 
 

Case 19-22142 Doc1

Debtor 1
Debtor 2

CHRISTIAN MARCIANO FLORES
ROXANA MARITZA SOTOMAYOR

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Case number (if known)

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
any debts in Parts 1 or 2, do not fill out or submit this page.

CHASE

 

Name

201 N WALNUT STREET

On which entry in Part 1 or Part 2 did you fist the original creditor?

Line 4.6 of (Check one): [[] Part 1: Creditors with Priority Unsecured Claims

 

Number Street

 

 

WILMINGTON DE 19801

 

City State ZIP Code

CITIBANK

 

Name

C/O MIDLAND FUNDING

| Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.7 __of (Check one): [[] Part 1: Creditors with Priority Unsecured Claims

 

Number Street

2365 NORTHSIDE DRIVE, STE 300

 

 

SAN DIEGO CA 92108

 

City State ZIP Code

CREDENCE RESOURCE MANAGEMENT LLC

 

Name

17000 DALLAS PKWY, STE 204

Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.26 of (Check one): CD Part 1: Creditors with Priority Unsecured Claims

 

Number Street

 

 

DALLAS TX
City State

75248
ZIP Code

GC SERVICES LP

 

Name

6330 GULFTON

YJ Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.6 of (Check one): [] Part 1: Creditors with Priority Unsecured Claims

 

Number Street

 

 

HOUSTON TX 77081

 

City State ZIP Code

GC SERVICES LP

 

Name

PO BOX 1545

Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.6 of (Check one): [[] Part 1: Creditors with Priority Unsecured Claims

 

Number Street

 

 

HOUSTON TX 77251

 

City State ZIP Code

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

page 11

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR

Case number (if known)

 

Part 3: Ie Others to Be Notified About a Debt That You Already Listed -- Continuation Page

MIDLAND CREDIT MGMT

 

Name

2365 NORTHSIDE DR, STE 300

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.8 of (Check one): [[] Part 1: Creditors with Priority Unsecured Claims

 

Number Street

 

 

SAN DIEGO CA 92108

 

City State ZIP Code

NATHAN WILLNER, ESQ

 

Name

PO BOX 1269

Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.25 of (Check one): [[] Part 1: Creditors with Priority Unsecured Claims

 

Number Street

 

 

 

 

Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.26 of (Check one): ((] Part 1: Creditors with Priority Unsecured Claims

 

 

 

 

MT LAUREL NJ 08054
City State ZIP Code
RCVL PER MNG

Name

20816 44TH AVE W

Number Street

LYNWOOD WA _ 98036
City State ZIP Code

TD BANK USA / TARGET

 

Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.25 of (Check one): oO Part 1: Creditors with Priority Unsecured Claims

 

 

 

 

Name

PO BOX 673

Number Street

MINNEAPOLIS MN 55416
City State ZIP Code

TD BANK USANA

 

Name

7000 TARGET PKWY N MS-NCB-0464

Number Street

 

 

BROOKLYN PARK MN 55445

 

City State ZIP Code

Official Form 106E/F

7] Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number |

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.25 of (Check one): CC] Part 1: Creditors with Priority Unsecured Claims
7] Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Schedule E/F: Creditors Who Have Unsecured Claims page 12

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES

Debtor2 ROXANA MARITZA SOTOMAYOR

 

Add the Amounts for Each Type of Unsecured Claim

Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
28 U.S.C. § 159. Add the amounts for each type of unsecured claim.

Total claims 6a.

from Part 1

6b.

6c.

6d.

6e.

Total claims 6f.
from Part 2

6g.

Gh.

Gi.

6j.

Official Form 106E/F

Domestic support obligations

Taxes and certain other debts you owe the government

Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims. Write that amount here.

Total. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar
debts

Other. Add all other nonpriority unsecured claims. Write that amount here.

Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6d.

6f.

6g.

6h.

6i.

6j.

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

$0.00

$0.00

$0.00

$0.00

 

 

$0.00

 

 

Total claim

$0.00

$0.00

$0.00

$90,646.74

 

 

$90,646.74

 

 

page 13

 
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Fill in this information to identify your case:

Debtor 1 CHRISTIAN MARCIANO FLORES

First Name Middle Name Last Name

Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 

(Peony 0 Check if this is an
amended filing

 

 

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases 12/15
ee

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).

1. Doyou have any executory contracts or unexpired leases?

No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
OO Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
executory contracts and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1

 
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Fill in this information to identify your case:

Debtor 1 CHRISTIAN MARCIANO FLORES

First Name Middle Name Last Name

Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

emia (0 Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

ee eee er
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If

two married people are filing together, both are equally responsible for supplying correct information. If more space is

needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this

page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

1. Do you have any codebtors? _ (If you are filing a joint case, do not list either spouse as a codebtor.)

wi No
Go Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
No. Go to line 3.
oO Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
OO No
oO Yes

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

Official Form 106H Schedule H: Your Codebtors page 1

 

 
Case 19-22142 Doc1

Fill in this information to identify your case:

CHRISTIAN

First Name

ROXANA

First Name

Debtor 1
Middle Name

MARITZA
Middle Name

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:

MARCIANO

DISTRICT OF MARYLAND

 

Filed 09/11/19

FLORES

Last Name

SOTOMAYOR

Last Name

O
Oo

Page 45 of 63

Check if this is:

An amended filing

A supplement showing postpetition
chapter 13 income as of the following date:

 

Case number
(if known)

Official Form 106l
Schedule I: Your Income

 

MM / DD / YYYY

 

12/15

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment
information.
If you have more than one
job, attach a separate page
with information about
additional employers.

Debtor 1 Debtor 2 or non-filing spouse

M1 Employed
(J Not employed

RELATIONSHIP MANAGER

Employed
(1 Not employed

JR ASSOCIATE QUALITY REVIEW

Employment status

Occupation

 

Include part-time, seasonal,

or self-employed work. MUFG INVESTOR SERVICES LLC BANK OF AMERICA

Employer's name

 

Occupation may include
student or homemaker, if it
applies.

805 KING FARM BLVD STE 600
Number Street

474 N FREDERICK AVENUE

Number Street

Employer's address

 

 

 

ROCKVILLE
City

MD 20850
State Zip Code

GAITHERSBU!
City

MD 20877
State Zip Code

 

How long employed there? 01/02/2018 - PRESENT 05/20/2002 - PRESENT

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or

non-filing spouse

 

 

 

 

2. List monthly gross wages, salary, and commissions (before all 2. $4,588.33 $3,977.61
payroll deductions). If not paid monthly, calculate what the monthly wage
would be.
3. Estimate and list monthly overtime pay. 3. + $0.00 $0.00
4. Calculate gross income. Add line 2 + line 3. 4. $4,588.33 $3,977.61

 

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
Case 19-22142 Doc1 Filed09/11/19 Page 46 of 63

Debtor 1 CHRISTIAN MARCIANO FLORES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy lime 4 here ..........eessscsssssssssessssssveusnecusenssssenesesesavenstessseveesseatacees »> 4. $4,588.33 $3,977.61
5. List all payroll deductions:
Sa. Tax, Medicare, and Social Security deductions 5a. $1,120.84 $747.16
5b. Mandatory contributions for retirement plans 5b. $0.00 $345.65
5c. Voluntary contributions for retirement plans 5c. $0.00 $118.45
5d. Required repayments of retirement fund loans 5d. $0.00 $385.32
5e. Insurance 5e. $0.00 $415.91
5f. Domestic support obligations 5f. $0.00 $0.00
5g. Union dues 5g. $0.00 $0.00
Sh. Other deductions.
Specify: See continuation sheet 5h.+ $30.84 $24.12
6. acd the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+ 6. $1,151.68 $2,036.61
g + 5h.
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $3,436.65 $1,941.00
List all other income regularly received:
8a. Net income from rental property and from operating a 8a. $0.00 $0.00

 

business, profession, or farm

Attach a statement for each property and business showing
gross receipts, ordinary and necessary business expenses, and
the total monthly net income.

8b. Interest and dividends 8b. $0.00 $0.00

8c. Family support payments that you, a non-filing spouse, or a 8c. $0.00 $0.00
dependent regularly receive

 

 

Include alimony, spousal support, child support, maintenance,
divorce settlement, and property settlement.

8d. Unemployment compensation 8d. $0.00 $0.00
8e. Social Security 8e. $0.00 $0.00
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) or any non-

cash assistance that you receive, such as food stamps

(benefits under the Supplemental Nutrition Assistance Program)

or housing subsidies.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Specify: 8f. $0.00 $0.00
8g. Pension or retirement income 8g. $0.00 $0.00
8h. Other monthly income.
Specify: RENTAL INCOME / CHILD SUPPORT 8h. + $800.00 $95.00
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f+8g+8h. 9. $800.00 $95.00
10. Calculate monthly income. Add line 7 + line 9. 10. $4,236.65 |+ $2,036.00 |= $6,272.65
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

 

Specify: 1. 0+ $0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly 12. $6,272.65

income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, -

if it applies. Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?
No. None.
0 Yes. Explain:

 

 

 

 

Official Form 1061 Schedule |: Your Income page 2

Neen

 
Case 19-22142 Doc1

Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR

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Case number (if known)

 

 

 

 

 

Official Form 1061

 

 

For Debtor 1 For Debtor 2 or

5h. Other Payroll Deductions (details) non-filing spouse
GROUP TERM LIFE INS / CHILD LIFE INSURANCE $6.84 $1.11
METLAW LEGAL / AD&D INSURANCE $24.00 $3.53
PREPAID LEGAL $14.50
LTD INSURANCE $4.98
Totals: $30.84 $24.12

 

 

 

 

 

 

Schedule |: Your Income

 

page 3
 

Case 19-22142 Doc1 Filed09/11/19 Page 48 of 63

Fill in this information to identify your case:

Check if this is:

 

 

 

 

 

Debtor 1 CHRISTIAN MARCIANO FLORES (0 Anamended filing

First Name Middle Name Last Name oO A supplement showing postpetition
Debtor 2 ROXANA MARITZA SOTOMAYOR chapter 13 expenses as of the
(Spouse, if filing) First Name Middle Name Last Name following date:
United States Bankruptcy Court for the: DISTRICT OF MARYLAND MM/DD/YYYY.—
Case number
(if known)

 

Official Form 106J

Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. !f more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.

BEREHE Describe Your Household

1. Is this a joint case?

0 No. Go to line 2.
7] Yes. Does Debtor 2 live in a separate household?

MI No

C] Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? O No

 

 

 

 

 

 

oS : Paar : Dependent's relationship to Dependent's Does dependent
Do not list Debtor 1 and res an gopendent on Debtor 1 or Debtor 2 age live with you?
Debtr2. i (<t«‘éC~*;*‘#* OF CH dependet...n.eccrcreeees
DAUGHTER 19 vO.
Do not state the dependents' N
names. SON 14 [] No
Yes
EJ No
OC] Yes
CJ No
(7 Yes
CJ No
CI Yes
3. Do your expenses include WI No
expenses of people other than OO Yes

yourself and your dependents?

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. 4. $837.09

Include first mortgage payments and any rent for the ground or lot.

If not included in line 4:

4a. Real estate taxes 4a.
4b. Property, homeowner's, or renter's insurance 4b.
4c. Home maintenance, repair, and upkeep expenses Ac. $100.00
4d. Homeowner's association or condominium dues Ad. $220.00

Official Form 106J Schedule J: Your Expenses page 1

 

 
 

Debtor 4 CHRISTIAN MARCIANO FLORES
Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)
5. Additional mortgage payments for your residence, such as home equity loans 5.
6. Utilities:
6a. Electricity, heat, natural gas 6a.
6b. Water, sewer, garbage collection 6b.
6c. Telephone, cell phone, internet, satellite, and 6c.
cable services
6d. Other. Specify: SECURITY 6d.
7. Food and housekeeping supplies 7.
8. Childcare and children's education costs 8.
9. Clothing, laundry, and dry cleaning 9.
10. Personal care products and services 40.
11. Medical and dental expenses 11.
12. Transportation. Include gas, maintenance, bus or train 12.
fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers, 13.
magazines, and books
14. Charitable contributions and religious donations 14.
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a.
15b. Health insurance 15b.
15c. Vehicle insurance 15c.
15d. Other insurance. Specify: STORAGE 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16.
17. Installment or lease payments:
17a. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.
17c. Other. Specify: 17c.
17d. Other. Specify: 17d.
18. Your payments of alimony, maintenance, and support that you did not report as 18.
deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).
19. Other payments you make to Support others who do not live with you.
Specify: 19.

Official Form 106J

Case 19-22142 Doc1 Filed 09/11/19

 

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i

ee

Your expenses

 

 

 

 

 

 

Schedule J: Your Expenses

50.00
200.00
160.00
175.00
250.00

th

 

|

$355.00
$551.00

HN

a aaa

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES

Debtor2 ~ROXANA MARITZA SOTOMAYOR Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
Schedule I: Your Income.

20a. Mortgages on other property 20a. $875.91

20b. Real estate taxes 20b.

20c. Property, homeowner's, or renter's insurance 20c. $17.50
20d. Maintenance, repair, and upkeep expenses 20d. $206.42
20e. Homeowner's association or condominium dues 20e. $361.32

21. Other. Specify: 21.0

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. $5,785.52

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. 22b.

 

C—O

22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $5,785.52

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule 1. 23a. $6,272.65

23b. Copy your monthly expenses from line 22c above. 23b. — $5,785.52

23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 23c. $487.13

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

 

 

 

 

 

 

 

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
payment to increase or decrease because of a modification to the terms of your mortgage?

WI No.
[1 Yes.| Explain here:
None.

 

 

 

 

Official Form 106J Schedule J: Your Expenses page 3

 

 
 

EEE '’'S Oo ae

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Fill in this information to identify your case:

    

Debtor 1 CHRISTIAN MARCIANO FLORES

  
  

 

 
 
  
   
 
 
   
  

 

First Name Middle Name Last Name
Debtor 2 ROXANA MARITZA SOTOMAYOR
(Spouse, if filing) First Name Middle Name Last Name

        

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 
 

Case number
(if known)

 

CJ Check if this is an
amended filing

 
  

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection witha bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
[J No

Yes. Name of person CARMEN HERNANDEZ Attach Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

Under penalty of perjury, | declare that I have read the summary and schedules filed with this declaration and that they are
true and correct.

x CEorth fing — ,

CHRISTIAN MARCIANO FLORES, Debtor 4
Date 01/09 ( 2914

 
  

   

oe.
PD

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be

 

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Oo lex Zale

MM/DD/YYYY MM/DD/YYYY
Official Form 106Dec Declaration About an Individua! Debtor's Schedules page 1

rrr
Case 19-22142 Doc1 Filed 09/11/19 Page 52 of 63

Fill in this information to identify your case:

Debtor 1 CHRISTIAN MARCIANO FLORES

First Name Middle Name Last Name

on A a he 4)
Debtor 2 ROXANA MARITZA SOTOMAYOR dul ; SEP | | PH ee Gs
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 

(ikeowy DD Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?
Married
[] Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

fy No

[J Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
(Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
Washington, and Wisconsin.)

fy No

CI Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)

FRESE Exciain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

[J No

Yes. Fill in the details.

 

Debtor1 __ . oe _ Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions Check all that apply. (before deductions
and exclusions and exclusions

From January 1 of the current year until fy] Wages, commissions, $35,513.31 [fy] Wages, commissions, $31,148.10
the date you filed for bankruptcy: bonuses, tips bonuses, tips

(Operating a business (1 Operating a business
For the last calendar year: fy] Wages, commissions, $52,764.80 [fy] Wages, commissions, $42,135.62
J ttoD ber 31 bonuses, tips bonuses, tips
(January 1 fo December 2018 ) (7 Operating a business (Operating a business
For the calendar year before that: fy] Wages, commissions, $51,672.81 [fy] Wages, commissions, $44,358.43
J ttoD ber 31 bonuses, tips bonuses, tips

anua ‘oO ember 31, . . . .

(January ee 2017 _) oO Operating a business oO Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

fy No

Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 

 
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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known)

 

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

(J No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
"incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
TJ No. Go to line 7.

oO Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

: f/] Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

oO No. Go to line 7.

Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and alimony.
Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount Amount you Was this payment for...
payment paid stili owe

CARRINGTON MORTGAGE SER $2,511.27 $123,259.12 Mortgage

Creditor's name Cc.
LAST 90 DAYS DO car

PO BOX 5001 ( Hy creditcard

 

Number = Street
Oo Loan repayment

Suppliers or vendors

 

 

 

 

 

WESTFIELD IN 46074 (J Other

City State ZIP Code
Dates of Total amount Amount you Was this payment for...
payment paid still owe

BANK OF AMERICA $2,627.73 $154,721.35 Mortgage

Creditor's name
LAST 90 DAYS O Car

PO BOX 31785 ( ) OO Credit card

Number Street
oO Loan repayment

Oo Suppliers or vendors

TAMPA FL 33631 CO Other
City State ZIP Code

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 

 
 

 

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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2. ROXANA MARITZA SOTOMAYOR Case number (if known)

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
such as child support and alimony.

fy No

1 Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?
Include payments on debts guaranteed or cosigned by an insider.

J No

OO Yes. List all payments that benefited an insider.

PORES identity Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

[ No

Yes. Fill in the details.

 

 

 

 

Case title Nature of the case Court or agency Status of the case
TD BANK USA NA VS COLLECTION SUIT DISTRICT COURT OF MD FOR Pending
CHRISTIAN M FLORES JUDGMENT ENTERED 12/19/2018 MONTGOMERY CO oO
Court Name (J On appeal
191 E JEFFERSON STREET
Case number 060200141132018 Number Street fj Concluded
ROCKVILLE MD _20850
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
seized, or levied?
Check all that apply and fill in the details below.

No. Go to line 11.
oO Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
amounts from your accounts or refuse to make a payment because you owed a debt?

fyJ No

oO Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
oO Yes

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
Case 19-22142 Doc1 Filed09/11/19 Page 56 of 63

Debtor 1 CHRISTIAN MARCIANO FLORES
Debteor2 ROXANA MARITZA SOTOMAYOR Case number (if known)

 

 

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

7 No

OO Yes. Fillin the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
to any charity?

fy No

OO Yes. Fill in the details for each gift or contribution.

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
other disaster, or gambling?

fy No

| Yes. Fill in the details.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

CI No

Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

Description and value of any property transferred Date payment Amount of
CARMEN HERNANDEZ $100.00 FOR THE PREPARATION OF THE ortransfer was = payment
Person Who Was Paid CHAPTER 7 BANKRUPTCY PETITION. made
1620 ELTON ROAD 11/18/2018 $100.00
Number Street
SILVER SPRING MD 20903
City State ZIP Code
integratedmultiservices@gmail.com
Email or website address
Person Who Made the Payment, if Not You

Description and value of any property transferred Date payment Amount of
ABACUS CREDIT COUNSELING $35.00 FOR PRE-BANKRUPTCY CREDIT ortransfer was payment
Person Who Was Paid COUNSELING. made
17337 VENTURA BLVD STE 205 09/05/2019 $35.00

 

 

Number = Street

 

 

ENCINO CA _ 91316
City State ZIP Code

 

 

Email or website address

 

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 

 
 

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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known)

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

fy No

CI Yes. Fill in the details.
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
property transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

f7J No

| Yes. Fill in the details.

49. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
you are abeneficiary? (These are often called asset-protection devices.)

fy No

oO Yes. Fill in the details.

Flaite List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

I No

0 Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
for securities, cash, or other valuables?

fy No

oO Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

J No

| Yes. Fill in the details.

PERE icentity Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

fy No

oO Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 6

 
 

 

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Debtor1 CHRISTIAN MARCIANO FLORES
Debtor2 ROXANA MARITZA SOTOMAYOR Case number (if known)

 

 

| Part 10: Rene Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

= Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 

m Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
law?

M1 No

oO Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?

I No

ol Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
orders.

MI No

oO Yes. Fill in the details.

| Part 11: (Ree Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

| A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
CO A member of a limited liability company (LLC) or limited liability partnership (LLP)

| A partner in a partnership

Oo An officer, director, or managing executive of a corporation

( An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to Part 12.
oO Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
all financial institutions, creditors, or other parties.

[] No

oO Yes. Fill in the details below.

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Debtor 1 CHRISTIAN MARCIANO FLORES
Debtor 2 ROXANA MARITZA SOTOMAYOR Case number (if known)

 

 

| Part 12: [Ee Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | deciare under penalty of perjury
that answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

CHRISTIAN MARCIANO FLORES, Debtor 1
Date gq [ ¥/ l q

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

No
oO Yes

 

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

J No
Yes. Name of person CARMEN HERNANDEZ Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF MARYLAND
GREENBELT DIVISION
INRE: CHRISTIAN MARCIANO FLORES

CASE NO
ROXANA MARITZA SOTOMAYOR

CHAPTER TS paw

VERIFICATION OF CREDITOR MATRIX

 

The above named Debtor hereb

y verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.

Date Ot [08 (ro1 t Signature Ca

CHRISTIAN MARCIANO FLORES

  
 
 

Date 2922 | 2015

Signature

 

 
 

 

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BANK OF AMERICA
PO BOX 31785
TAMPA, FL 33631

BANK OF AMERICA
400 CHRISTIANA ROAD
NEWARK, DE 19713

CARRINGTON MORTGAGE SER
PO BOX 5001
WESTFIELD, IN 46074

CHASE
201 N WALNUT STREET
WILMINGTON, DE 19801

CHASE CARD
PO BOX 15298
WILMINGTON, DE 19850

CHRISTOPHER COURT CONDOMINIUM
3706 CRONDALL LANE STE 105
OWINGS MILL, MD 21117

CITIBANK

C/O MIDLAND FUNDING

2365 NORTHSIDE DRIVE, STE 300
SAN DIEGO, CA 92108

CITICARDS CBNA
PQ BOX 6241
SIOUX FALLS, SD 57117

CREDENCE RESOURCE MANAGEMENT LLC
17000 DALLAS PKWY, STE 204
DALLAS, TX 75248

 
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FARMINGDALE CONDO INC

C/O THE MANAGEMENT GROUP ASSOC
20440 CENTURY BLVD STE 100
GERMANTOWN, MD 20879

GC SERVICES LP
PO BOX 1545
HOUSTON, TX 77251

GC SERVICES LP
6330 GULFTON
HOUSTON, TX 77081

KAISER PERMANENTE

PATIENT FINANCIAL SERVICES
2101 E JEFFERSON ST 4 EAST
ROCKVILLE, MD 20852

KOHLS / CAPITAL ONE
PO BOX 3043
MILWAUKEE, WI 53201-3043

MIDLAND CREDIT MGMT
2365 NORTHSIDE DR, STE 300
SAN DIEGO, CA 92108

NATHAN WILLNER, ESQ
PO BOX 1269
MT LAUREL, Nd 08054

NATIONWIDE RECOVERY SERVICES
PO BOX 8005
CLEVELAND, TN 37320

RCVL PER MNG
20816 44TH AVE W
LYNWOOD, WA 98036

 

 
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TARGET CARD SERVICES
PO BOX 9500
MINNEAPOLIS, MN 55440

TD BANK USA / TARGET
PO BOX 673
MINNEAPOLIS, MN 55416

TD BANK USA NA
7000 TARGET PKWY N MS-NCB-0464
BROOKLYN PARK, MN 55445

TMOBILE

BANKRUPTCY DEPT

PO BOX 53410

BELLEVUE, WA 98015~3410

 

 
